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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: June 25, 2020.

                                                                  __________________________________
                                                                            TONY M. DAVIS
                                                                  UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                     MIDLAND DIVISION

   IN RE:                                             §
                                                      §           Case No. 19-70106-tmd
   Remnant Oil Company, LLC and                       §           Case No. 19-70107-tmd
   Remnant Oil Operating, LLC                         §                 Chapter 7
                                                      §
                                                      §           (Jointly administered under
                                                      §           Case No. 19-70106)

                               ORDER GRANTING
      MOTION OF RONALD INGALLS, CHAPTER 7 TRUSTEE TO SELL REAL PROPERTY
        FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES
                              (Oil and Gas Interests)

           CAME ON TO BE HEARD on June 23, 2020, the Motion of Ronald Ingalls, Chapter 11 Trustee

   to Sell Real Property Free and Clear of Liens, Claims, Interests and Encumbrances (“Motion”) pursuant to

   Section 363(b) and (f) of the Bankruptcy Code. The Court finds that such motion should be GRANTED

   as provided below.


          IT IS THEREFORE ORDERED AS FOLLOWS:
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          1.      The Trustee is hereby authorized to sell substantially all of the assets of the Debtors,

   including the Caprock Oil and Gas Rights, the Wind Rights, the Water Rights, the First Capital Oil and

   Gas Rights and the North Square Lake Oil and Gas Rights together with certain associated property (the

   “Oil and Gas Interests”) to Acacia Energy Resources, LLC or assigns for $300,000.00 pursuant to the

   terms of the Asset Purchase Agreement attached hereto.

          2.      The sale expressly shall not include the Gas Compressor Unit owned by Kodiak

   Gas Service, LLC.

          3.      Reservation of Rights for Sureties. Trustee has indicated that buyer is purchasing

   all of the assets of the debtor including all of its real property and all of the permits associated

   with the debtor’s assets. Trustee has further assured Lexon Insurance Company, (the “Surety”)

   that as part of the sales transaction the buyer has agreed to replace all outstanding bonds of the

   debtor by the time of the closing of the sale transaction. Surety has issued commercial surety

   bonds on behalf of the Debtors relating to certain Purchased Assets, and the Debtors’ business

   (collectively, the "Existing Surety Bonds,") and Debtors have entered into, or are potentially

   otherwise liable under, certain indemnity agreements and/or related agreements with the Surety

   (collectively, the "Existing Indemnity Agreements"). Notwithstanding anything to the contrary

   in the Order or the Asset Purchase Agreement, (i) the Trustee and the Surety reserve all rights

   and defenses with respect to the Existing Indemnity Agreements; (ii) nothing shall permit the

   transfer of any right to the Purchaser, alter, limit, modify, release, discharge, preclude or enjoin

   any obligation of the Debtors to any Surety or under the Existing Surety Bonds or the Existing

   Indemnity Agreements; (iii) nothing herein shall be deemed to provide any Surety’s consent to

   the involuntary substitution of any principal under any Existing Surety Bond; (iv) nothing shall

   be construed to authorize or permit the assumption and/or assignment of any Existing Surety
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   Bond, or any Existing Indemnity Agreement, (v) each Existing Surety Bond shall be replaced

   by the Purchaser by the time of the closing of the sale transaction (collectively, the "Replacement

   Surety Bonds"), (vi) nothing under this Sale Order or the APA shall obligate any Surety to issue

   any Replacement Surety Bond to the Purchaser, and (vii) Trustee has agreed, subject to the

   courts authorization by separate motion, to cure any delinquent premium costs and Loss

   Adjustment Expenses as set forth in the Existing Indemnity Agreements and Bonds that are or

   become due until termination or replacement by the buyer.

          4.      Notwithstanding any other provision in the Motion, this Order or any

   implementing use, sale, or transfer documents (collectively, the “Sale Documents”), any

   sale, assignment and/or transfer of any interests in contracts, leases, covenants, operating

   rights agreements, rights-of-use and easements, and rights-of-way or other interests or

   agreements (a) with the federal government or State of New Mexico; (b) involving (i) federal or

   New Mexico State land or minerals; (collectively, the “Federal and State Leases”), will be

   ineffective with respect thereto absent the

   consent of the United States or the State of New Mexico, as appropriate. The Debtors and the

   Buyer agree to comply with all

   applicable bankruptcy and non-bankruptcy law with respect to the Federal and State Leases, and

   nothing in the Sale Documents shall otherwise affect any decommissioning obligations

   and financial assurance requirements under the Federal and State Leases as determined by the

   United States (as provided for under applicable law and the Federal Leases), State of New

   Mexico (as provided for under applicable law and New Mexico’s Oil and Gas Act, NMSA 1978,

   §70-2-1 et seq.), and/or any governmental unit, that must be met by the Debtors and/or the

   Buyer, as applicable. Moreover, nothing in this Order or the Sale Documents shall be interpreted
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   to require the United States or the State of New Mexico to novate, approve or otherwise consent

   to the assumption, sale, assignment and/or transfer of any interests in the Federal or State Leases.

          5.      For the avoidance of doubt, in order to obtain the consent of the United States,

   State of New Mexico and/or any governmental unit to the assumption, sale, assignment and/or

   transfer of any interests in a Federal or State Lease, all existing defaults under such Federal or

   State Lease, including, without limitation, any outstanding rents or royalties known and

   satisfactorily documented to date, plus any accrued and unpaid interest lawfully chargeable

   against any such underpayments of royalty interests, must be paid (i.e., assumed and/or cured, to

   the extent appropriate), and any reporting requirements or outstanding reports must be submitted

   and nothing in this Order, or the Sale Documents, shall be interpreted to set Cure Costs for the

   Federal or State Leases.

          6.      Notwithstanding any other provision herein the United States, State of New

   Mexico and/or any other governmental unit will retain, and have, the right to audit and/or

   perform any compliance review related to the Federal or State Leases and, if appropriate to

   collect from the Debtors or their successors and assigns (including the Buyer (s) and

   Reorganized Debtors, if applicable) and under applicable federal regulations any additional

   monies owed by the Debtors that accrued prior to the transfer or assignment of the Federal or

   State Leases without those rights being adversely affected by these bankruptcy proceedings. The

   Debtors, and their successors and assigns (including the Buyer (s) ) and Reorganized Debtors, if

   applicable)) will retain all defenses and/or rights, other than defenses and/or rights arising from

   the bankruptcy, to challenge any such determination: provided, however, that any such

   challenge, including any challenge associated with this bankruptcy proceeding, must be raised in

   the United States’ administrative review process leading to a final agency determination by the
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   United States Department of the Interior Office of Natural Resources Revenue or the State of

   New Mexico State Land Office. The audit and/or compliance review period shall remain open

   for the statute of limitations period applicable by law. In addition, nothing in the Assumption

   and/or Assignment Order, or Sale Order, or the Purchase and Sale Agreement(s) addresses or

   shall otherwise affect any plugging and abandonment obligations and financial assurance

   requirements under the Federal or State Lease(s), as determined by the Department of the

   Interior of the United States, State Lease(s), as determined by the State of New Mexico State

   Land Department, that must be met by the Debtors or their successors and assigns ((including the

   Buyer(s)) going forward.

   .       7.      The Trustee is authorized to execute all sale documents on behalf of the Seller.

           8.      The sale shall be free and clear of liens, claims, interests and encumbrances,

   except as provided herein.

           9.      The following liens shall be paid at closing:

                   Liens of ad valorem taxing entities.

           10.     The sale shall be made subject to the liens securing the First DIP Loan, the

   Second DIP Loan, the Third DIP Loan, the $757K Note, the First Capital Note and contingent

   liabilities to the U.S. Department of the Interior and other governmental entities related to

   owning, operating and plugging the wells. Nothing herein shall constitute a determination as to

   the extent, priority or validity of any of the three DIP loans or the liens securing the same.

           11.     The ad valorem taxes for year 2020 pertaining to the subject property shall be

   prorated in accordance with the Asset Purchase Agreement and shall become the responsibility

   of the Purchaser and the year 2020 ad valorem tax liens shall be retained against the subject

   property until said taxes are paid in full.
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          12.     All other liens, claims, interests and encumbrances will attach to the proceeds

   from the sale to the same extent, priority and validity as existed on the petition date, provided,

   however, that such interests shall be junior to Chapter 7 expenses of administration.

          13.     The Trustee shall file a Report of Sale upon closing.

                                                  ###



   Order Submitted By:

   Stephen W. Sather
   Barron & Newburger, P.C.
   7320 N. MoPac Expwy., Suite 400
   Austin, TX 78731
